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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NE,W YORK


 IN RE PETROBRAS SECURITIES
 LITIGATION                                                       Case   No. 14-CV-9662 (JSR)

                                                                  CLASS ACTION




                                        NOTICE OF APPEAL

           Notice is liereby given that objecting class mernber Williarn Thomas Haynes, as trustee fbr

the benefit of W. Thomas and Katherine Hayres Irrevocable Trust fbr the benefit of Sara L. tiayncs

(the "Trust") hereby appeals to the United States Courl of Appeals fbr thc Second Circuit liorr.r the

Opinion and Order (Dkt. 866) entered      or-r   August 15, 2018, and all opinions and orders that merge

therein.

Dated: September I 0, 201    8




                                         Anna St. John
                                         COMPETITIVE ENTERPRIS E INSl'I'f U'f E
                                           CENTER FOR CLASS ACTION FAIRNESS
                                         l3l0 L Street NW, 7th Floor
                                         Washington, DC 20005
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                                         Attorney.fbr Ob.jector Williant'fhomos llayncs, as trustec
                                        .fbr the bene/it o.f trV Thomos ancl Kotherinc llayncs
                                         Irret'ocablc 'liast.fbr thc bencfit of Sorct [,. I]ctynes




Notice of Appeal
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                                       Certificate of Service

       The undersigned certifies she electronically filed the foregoing Notice of Appeal via the

CM/ECF system for the Southern District of New York, thus sending the Notice of Appeal to the

Clerk of the Court and also effecting service on all attorneys registered for electronic filing.

Dated: September 10, 2018


                                       /s/ Anna St. John
                                       Anna St. John




Notice of Appeal
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